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IN THE UNITED STATES DISTRICT COURT | _
FOR THE NORTHERN DISTRICT OF TEXAS | AUG | 0202

DALLAS DIVISION CLERK, US. DISTRICT Ct
UNITED STATES OF AMERICA § — a
Vv. : Case No. 3:21-cr-00236-E
WILLIAM ROY STONE, JR. (1)

ORDER MODIFYING CONDITIONS OF RELEASE

On August 10, 2023, a jury found the defendant guilty of conspiracy to
commit wire fraud, wire fraud, and several other felony offenses. Therefore, under
18 U.S.C. § 3143(a)(1), the Court must order the defendant be detained unless the
Court finds by clear and convincing evidence that the defendant is not likely to flee
or pose a danger to any other person or the community if continued on release
pending sentencing. The Court referred the issue of detention to the undersigned
magistrate judge for determination.

At a hearing on the matter, the government opposed release and proffered
evidence relevant to the defendant’s ability and incentive to flee, as well as evidence
relevant to the issue of dangerousness—including evidence that the defendant, a
former law enforcement officer, possesses numerous firearms. The defendant
proffered evidence in rebuttal, including evidence of the defendant’s compliance
with pretrial conditions of release and his ties to the community.

As stated on the record at the conclusion of the hearing, the Court finds by

clear and convincing evidence that—with additional conditions of release—the

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defendant is not likely to flee or pose a danger to any other person or the
community if continued on release pending sentencing. Accordingly, the Court
modifies the defendant’s conditions of release, see Order (ECF No. 9), to add the
following conditions:

The defendant must:

7(k) not possess a firearm, destructive device, or other
weapon.

7(p), (q) submit to location monitoring, specifically, Stand Alone
Monitoring (SAM), which requires the use of Global
Positioning System (GPS) tracking to monitor and
enforce conditions of release.

7(r) pay all of the cost of any location monitoring program.
7(s) report as soon as possible, to the pretrial service office or

supervising officer, every contact with law enforcement
personnel, including arrests, questioning, or traffic stops.

SO ORDERED.

August 10, 2023.

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REBECCA RUTHERFORD
UNITED STATES MAGISTRATE JUDGE

